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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

        Plaintiff,

vs.                                                   Case Number: 1:12-cv-00758-JAP-ACT

TESLA MOTORS, INC., a Delaware
corporation,

        Defendant.

                 STIPULATED MOTION TO DISMISS WITH PREJUDICE

        COME NOW, Rio Real Estate Investment Opportunities, LLC, by and through its attorneys,

Lastrapes, Spangler & Pacheco, P.A. (Christopher M. Pacheco), and Tesla Motors, Inc., by and

through its attorneys, Rodey, Dickason, Sloan, Akin & Robb, P.A., LLC (Andrew Schultz), and

move the Court for an Order of Dismissal with Prejudice of the above captioned action. As grounds

for this Motion, the parties state:

        1.      The parties have reached a settlement.

        2.      Plaintiff no longer wishes to pursue this suit and wishes to dismiss all claims with

prejudice.

        3.      Defendant concurs and stipulates to this Motion.

        WHEREFORE, the parties ask that they be allowed to dismiss this action with prejudice

and for such other relief as the Court deems just proper.
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                       Respectfully submitted,




                       LASTRAPES, SPANGLER & PACHECO, P.A.


                       By: /s/ Christopher M. Pacheco
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                       RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.


                       By: /s/ Andrew G. Schultz
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